﻿Citation Nr: AXXXXXXXX
Decision Date: 10/30/20	Archive Date: 10/30/20

DOCKET NO. 200623-94954
DATE: October 30, 2020

ORDER

Entitlement to a total disability rating based on individual unemployability due to service-connected disabilities (TDIU) has been withdrawn, and the appeal is dismissed.

FINDING OF FACT

On August 26, 2020, prior to the promulgation of a decision in the appeal, the Board received notification from the appellant, through his authorized representative, that a withdrawal of this appeal is requested.

CONCLUSION OF LAW

The criteria for withdrawal of entitlement to a TDIU by the appellant’s authorized representative have been met.  38 U.S.C. § 7105; 38 C.F.R. § 20.205.

REASONS AND BASES FOR FINDING AND CONCLUSION

1. Entitlement to a TDIU

The Board may dismiss any appeal which fails to allege specific error of fact or law in the determination being appealed.  38 U.S.C. § 7105.  An appeal may be withdrawn as to any or all issues involved in the appeal at any time before the Board promulgates a decision.  38 C.F.R. § 20.205. Withdrawal may be made by the appellant or by his or her authorized representative.  Id.  In the present case, the appellant, through his authorized representative, has withdrawn this appeal and, hence, there remain no allegations of errors of fact or law for appellate consideration.  Accordingly, the Board does not have jurisdiction to review the appeal and it is dismissed.

 

 

S. L. Kennedy

Veterans Law Judge

Board of Veterans’ Appeals

Attorney for the Board	Sarah B. Richmond, Counsel

The Board’s decision in this case is binding only with respect to the instant matter decided. This decision is not precedential and does not establish VA policies or interpretations of general applicability. 38 C.F.R. § 20.1303. 

